       Case 1:01-cv-12257-PBS Document 7329-1 Filed 12/08/10 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                         )
IN RE PHARMACEUTICAL INDUSTRY                            )   MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION                       )   Civil Action No. 01-12257-PBS
                                                         )   Subcategory No. 03-10643-PBS
                                                         )
THIS DOCUMENT RELATES TO:                                )
                                                         )   Judge Patti B. Saris
The City of New York, et al. v. Abbott Laboratories,     )
Inc., et al.                                             )


     [PROPOSED] ORDER OF DISMISSAL OF PLAINTIFFS’ CLAIMS AGAINST
           DEFENDANTS FOREST PHARMACEUTICALS, INC. AND
                     FOREST LABORATORIES, INC.


       The Motion for Dismissal is hereby GRANTED. All Claims in this action against

Defendants Forest Pharmaceuticals, Inc. and Forest Laboratories, Inc. are dismissed with

prejudice and without costs to any party.


       IT IS SO ORDERED

Dated: _______________, 2010



                                                       _____________________________
                                                       The Honorable Patti B. Saris
                                                       United States District Court Judge
